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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )        1:10-cr-00131 AWI
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            )        STIPULATION RE:
                                        )        CONTINUANCE AND
15                                      )        ORDER
                                        )
16                                      )
     DUSTIN YORK,                       )
17                                      )
                                        )
18                                      )
                    Defendant.          )
19   ___________________________________)

20          The above-named Defendant in the above-captioned matter, by

21   and through his attorney, MONICA MIHELL, and the United States of

22   America, by and through its attorneys, BENJAMIN B. WAGNER, United

23   States Attorney, and KAREN A. ESCOBAR, Assistant United States

24   Attorney, hereby enter into the following stipulation:

25          1.   The parties to the above-captioned matter agree to vacate

26   his January 14, 2012, sentencing hearing and reset the matter

27   ////

28   ////

                                          1
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 1   for January 22, 2012, at 11:00 a.m.

 2        2.    The continuance is necessitated by the availability of

 3   the government’s attorney on January 14 due to the recent setting

 4   by the Ninth Circuit of an oral argument in United States v.

 5   Francheska Brizan on that date.

 6    DATED: December 19, 2012                    Respectfully submitted,

 7                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 8
                                                  By: /s/ Karen A. Escobar
 9                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
10
                                                   /s/ Monica Mihell
11                                                 MONICA MIHELL
                                                   Attorney for Defendant
12                                                 Dustin York

13

14                                 O R D E R

15        Having read and considered the foregoing stipulation,

16        IT IS THE ORDER of the Court that the current sentencing

17   hearing set January 14, 2012, for the above-named defendant is

18   hereby vacated and

19   IT IS SO ORDERED.
20
     Dated:   December 21, 2012
21   0m8i78                              UNITED STATES DISTRICT JUDGE
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